tf3

      John William Hall IV
      P. O. Box 54802                                                         FILEDUSBC GLRKPHK
                                                                               2018DEC26AH9:25"
      Phoenix, AZ 85078-4802


      December 21, 2018




      United States Bankruptcy Court
      District of Arizona
      280 1st Avenue, Suite 101
      Phoenix, AZ 85003

      Re: Case#2:18-bk-14380-PS
           Letter of Explanation

      Your Honor,


      This letter is to inform your honor and the court that in an effort to help me and
      to get the current mortgage creditor paid in full swiftly, my parents are securing
      the current necessary financing through Quicken Loans. Please see attached.

      Regards,


      John, William Hsill IV

      :c: Edward J. Maney, Esq.
          Chapter 13 Trustee
                                           Engineered to Amaze'


                                                                                            3419020860
December 12, 2018                                                                           CompanyNMLSft3030




John W. Hall, III
3018W Kerry Ln
Phoenix, AZ 85027-4909




Dear John W. Hall, III,

We've recently updated some-?mp6rtarit documents related to your transaction. Enclosed, please find a copy
of your Re-Disclosure Package. You may have already received and reviewed these documents on your
Rocket Mortgage account. We must also send a paper copy for your records. Enclosed, you will find the
folkwing documents:

. Loan Estimate.


As a reminder, some fees are estimated at this point, as we're still working to obtain final closing figures. We'll
continue to keep you updated on any changesas we work towardfinalizingthe terms of your loan.

Ifyou have any questions upon reviewingthis updated informatton, please contact me immediately.

Thankyou for choosing Quicken Loansand have a great day!

Sincerely,




Nicholas P McKay
NMLS#: 1523860
Executive Power Banker
Quicken Loans Inc.
NickMcKay@quickenloans. com
Fax: (844)864-4423
                                     * .

1060WoodwardAvenue[Detroit,Ml48226                              Savethis Loan Estimateto comparewithyour Closing Disclosure.

Loan Estimate                                                     LOAN TERM      30 years
                                                                  PURPOSE        Refinance
DATE ISSUED 1?/12/2018
                                                                  PRODUCT        Fbced Rate
APPLICANTS JohnW. Hall III
           3018W KerryLn                                          LOAN TYPE      8 Conventional DFHADVAQ
                    Phoenix,AZ85027-4909                          LOAN ID #      3419020860
                                                                  RATE LOCK     S NOD YES, until
PROPERTY            3018 W Keny Ln
                    Phoenix,A2 85027-4909                                        Before closing, your interest rate, points, and lendercreditscan
                                                                                 change unless you tock the interest rate. All other estimated
EST.PROP.VALUE $400,000                                                          closing cosis expire on 12/08/2018 11:59PMEST

  Loan Terms                                                                                                                                   vw^

   Loan Amount                               $299, 215                   NO

  Interest Rate                              5. 75%                     NO

  Monthly Principal & Interest               $ 1, 746. 14               NO
  See Projected Payments belowtor your
  EstimatedTotal Monthly Payment




  Prepayment Penalty                                                    NO
  Balloon Payment                                                       NO

  Projected Payments


  Principal & Interest                                                                        $1, 746. 14

  Mortgage Insurance                                                                  + 0
  Estimated Escrow                                                                    +          303
  Amount can increase over time

  Estimated Total                                                                             $2,049
  Monthly Payment
                                                                 This estimate includes                                                   In escrow?
  Estimated Taxes, Insurance                 $303                (xlPropertyTaxes                                                            Yes
  & Assessments
                                             a month             B Homeowner's Insurance                                                     Yes
  Amount can increase over time
                                                                 D Other:
                                                                 See Section G on page 2 for escrowed property costs. You must pay for other property
                                                                 casteseparately.


  Costs at Closing

  Estimated Closing Costs                    $13, 198               Includes $9, 169    in baan Costs + $4. 029           in Other Costs
                                                                    - $0         in Lender Credits. See page 2 for details.

  Estimated Cash to Close                    $17                   jndudesClosingCosts. SeeCalculatingCashtoCloseonpage2 tordetails.
                                                                   D From B To Borrower
                             Visit www.consumerfinance.gov/mortgage-estimate for general information and tools.
LOANESTIMATE _               _ . .               Ill IIBIIiTll11inilMFllinr Hllllllliill III PAGE1 OF3 . LOANID#3419020860
UDI: ce6620fe2f4436ac49145b8dc086825a
Walters Wuwer Financial Services ©2014                                                                                                     VMP33t1A(1407)
                                                 q03419020860 2159 021 0101
12/12/2018 21:16:04 EST
Closing Cost Details

 Loan Costs                                    Other Costs

 ^fl igh*i»C^®»
 2%          of LoanAmount(Points)   $5,984
 Processing Fee
 Underwriting Fee




                                              @. UtBrtSBJp8li»fl^UJ^¥Wi           ^9
                                              Homeowner'sInsurance$ 132.09       per month for 13mo.      $1,717
                                              MortgageInsurance $                per month for   mo.
Appraisal Fee                         $555    PropertyTaxes       $ 170.67       per month for 5mo.         $853
Credit Monitoring Service               $7
Credit Report                          $18
Flood Determinatton Fee                $11
FloodLifeof LoanCoverage                $5
Life of Loan Tax Service               $54
Tax Certification Fee                  $25




Trtte-Absbact or Title Search        $150
TiUe-Express Mail/Courier Fee         $45
Titte-LendereTitle Policy            $770
TiUs-SetUementor CtosingFee          $395
                                              D+l                                                        $13,198
                                              LenderCredits

                                              Calculating Cash to Close
                                              loan Amount                                                299, 215
                                              Total Closin Caste J                                      -$13,198
                                              EstimatedTotalPa offsandPa ents                          -$286, 000
                                              BstmatedCasbtoCIiss         Earn   ToBonower                    $17

                                              Estimated Closing Costs Financed                          $13,198
                                              Paidfrom our Loan Amount
Additional Information About This Loan

LENDER             Quicken Loans Inc.                                MORTGAGE BROKER
NMLS/    LICENSEID 3030                                              NMLS/     LICENSEID
LOANOFFICER         Nicholas P McKay                                 LOAN OFFICER
NMLS/     LICENSE ID 1523860                                         NMLS/     LICENSE ID
EMAIL               NickMcKay@quickenloans. com                      EMAIL
PHONE               (800) 226-6308                                   PHONE

Comparisons                         Use these measures to compare this loan with other loans.

                                   $115, 371                   Totalyouwillhavepaidinprindpat, interest, mortgageinsurance andtoancosts.
In 5 Years
                                   $21, 657                    Principal youwillhavepaidoff.

Annual Percentage Rate (APR) 6. 042%                           Yourcostsoverthetoantermexpressedasa rate,TNsisnotyourinterestrate.

Total Interest Percentage fTIP) 1 10.565%                      Thetotalamountofinterestthatyouwillpayoverthebantermasa percentageof
                                                               yourloanamount.



Other Considerations

Appraisal                  Wemayorderanappraisaltodeterminetheproperty'svalueandchargeyouforthisappraisal.Wewillpromptlygiveyou
                           a copy ofanyappraisal, even ifyourtoan does notdose. You canpayforanadditionalappraisalforyourownuse atyour
                           own cost.

Assumption                 Ifyousellortransferthispropertytoanotherperson,we
                           D willallow,undercertainconditions,thispersontoassumethisloanontheoriginalterms.
                           B willndallowassumption ofthisbanontheoriginalterms.
Homeowner's                This loan requires homeowner's insurance onthe property, whichyou mayobtainfroma company ofyourchoicethatwe
Insurance                  find acceptable.
Late Payment               Ifyourpaymentismorethan 15 dayslate,wewillchargea latefeeof S'/aafthsmsWy
                           principal and interest payment.



LoanAcceptance             Youdonot haveto acceptthis loan because you have receivedthisformorsigneda loanapplication.
Liabilityafter
Foreclosure                forecloses on your home. Ifyou losethis protection, you mayhaveto payanydebtremaining even afterforeclosure. You
                           maywantto consulta lawyerformoreinformation.
Refinance                  Refinancing this toanwilldepend onyourfuture financial situation, the property value, andmarket conditions. Youmaynot
                           be able to refinance this loan.

Servicing                  Weintend
                          S toserviceyourloan.Ifso,youwillmakeyourpaymentstous.
                          D totransferservicingofyourtoan.
